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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________

LISA GUFFEY & CHRISTINE SMITH,

                     Plaintiffs,               Case No. 1:18-cv-01271-CRC
       v.

JAMES C. DUFF, in his official capacity,

                  Defendant.
__________________________________________

                           REPLY IN SUPPORT OF
            PLAINTIFFS’ CROSS-MOTION FOR SUMMARY JUDGMENT
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                   INTRODUCTION AND SUMMARY OF ARGUMENT

       The flurry of arguments in the government’s opposition to summary judgment fails to

overcome the central flaw in the government’s position: The Identified Restrictions ban far too

much speech based on far too small a risk of harm.

       At the heart of this case are two questions: Is it reasonable for the government to fear the

harms it does? And is the government’s response to these potential harms appropriately tailored in

light of their likelihood and seriousness and the importance of the Plaintiffs’ interests? The

government has the burden to answer both in the affirmative to prevail. It succeeds on neither.

       On the reasonableness of the harm, the government does not dispute that no harm has

befallen the AO in eighty years of operation without its new Code of Conduct and that the AO has

continued to enjoy an excellent reputation for nonpartisanship. The government’s main defense of

the Identified Restrictions is that social media has changed everything; accordingly, acts of

personal political participation that were once anodyne are now at risk of being weaponized by

partisan organizations and foreign governments.

       The assertion that the wider availability of previously available information about the

political activities of AO employees magnifies the risk of harm depends on the premise that such

information is plausibly harmful to the AO’s reputation in the first place. It is not. The government

fails realistically to explain why any member of public would care whom the Plaintiff Lisa Guffey

(or any other AO employee) supports for President. For this key premise, the government must

resort to a lengthy chain of speculation regarding a series of unlikely contingencies. Though the

government disputes the Plaintiffs’ account of the chain of speculation that ties the government’s

feared harms to the conduct it bans, the government then heaps on yet more speculation about

additional unlikely events. Based on the record in this case, the government cannot realistically




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show that the reputation of the judiciary is at risk or that any of its other feared harms will occur.

And if there is any doubt on this point, it is the government’s burden under United States v. Nat’l

Treasury Employees Union, 513 U.S. 454 (1995) (“NTEU”), to justify its speech restrictions.

       The scope of the Identified Restrictions is an independent reason to enjoin them. The

Director has imposed on eleven hundred people far-reaching restrictions on political speech and

assembly that this Court has rightly deemed “as serious as they come.” Guffey v. Duff, 330 F. Supp.

3d 66, 74 (D.D.C. 2018). The Director would prohibit all his employees, off-duty, from a range of

ordinary but fundamental political activities that most Americans (including employees in the

Executive Branch) take for granted: expressing political views, supporting candidates via

monetary contributions, joining a political party, attending campaign events, and more. As this

Court held in its prior opinion, narrower rules already in place combined with individualized

enforcement would “readily address” the harms the government fears. Id. at 79. The government

quibbles about the precise level of tailoring required without refuting Plaintiffs’ fundamental point

that the Identified Restrictions are far too broad under any standard.

       Finally, the government raises for the first time in this litigation the argument that the

injunction should be narrowed from the agency-wide order granted on Plaintiffs’ preliminary

injunction motion to relief for just the two individual Plaintiffs. This eleventh-hour objection is at

odds with binding authority, Sanjour v. EPA, 56 F.3d 85 (D.C. Cir. 1995) (en banc), which squarely

addressed the proper scope of an injunction to address broad rules that muzzle federal employees.

       The Court should grant summary judgment to Plaintiffs and permanently enjoin the

operation of all nine Identified Restrictions against all AO employees except the six high-level

“designated” AO employees.




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                                            ARGUMENT

I.      The Government Fails To Justify Applying A Standard Weaker Than NTEU’s And
        Fails To Demonstrate That Speculation About Hypothetical Future Reactions Of
        Unnamed People To Hypothetical Future Events Is Admissible As Evidence.

        Before diving into the heart of the dispute, two threshold issues require brief discussion:

the legal standard and the evidentiary status of statements not based on personal knowledge.

        The government quibbles over the phrasing of the standard, Def.’s Opp. 3-5, but its

disputes do not amount to much. The parties agree that NTEU provides the governing standard and

that the Director may use reasonable speculation to carry his burden regarding his asserted interest

in the public perception of judicial integrity. See id. at 4.

        The government’s claim that Plaintiffs have conceded that concrete examples of harm are

unnecessary, Def.’s Opp. 5, misrepresents Plaintiffs’ position: Plaintiffs have conceded that

reasonable speculation may suffice regarding the specific interest in public perception of the

judiciary (the subject of discussion at the preliminary injunction hearing). But they have made no

such concession regarding the interests the government has added into the mix at the summary

judgment stage. See Pls.’ Br. 6 (noting Director Duff’s assertion of new inter- and intra-branch

harmony interests). These are subject to the regular NTEU analysis, unaided by special permission

to engage in reasonable speculation. Defendant objects to Plaintiffs’ point that these other harms

must be “concrete,” Def.’s Opp. 5, but as this Court has already suggested, this word is an apt

summary of the burden imposed by NTEU, under which “[t]he Government must show that the

interests of both potential audiences and a vast group of present and future employees in a broad

range of present and future expression are outweighed by that expression’s ‘necessary impact on

the actual operation’ of the Government,” 513 U.S. at 468 (emphasis added), and that “the recited

harms are real, not merely conjectural,” id. at 475; see Guffey, 330 F. Supp. 3d at 80 (“[I]nstead




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of explaining concretely how AO employees’ engagement in the restricted activities would lead to

public distrust of the judiciary, the government has consistently retreated to generalities.”

(emphasis added)). Substituting the phrase “examples of harms consisting of real, not merely

conjectural, necessary impact on the actual operation of the Government” for the phrase “concrete

examples of harms” in Plaintiffs’ briefs would yield the same argument, with the same conclusion.

       The government’s citations to the Connick, Baumann, and Lalowski cases do not support

its argument for a looser standard than NTEU requires, see Def.’s Opp. 5, 10, because all three

cases involved classic Pickering claims regarding discipline for a particular public employee’s

particular speech after the fact. See Baumann v. District of Columbia, 795 F.3d 209, 212, 215, 218

(D.C. Cir. 2015) (police officer’s challenge to application of department rule against disclosing

confidential information whose release would impede an investigation; the court noted that the

officer conceded the constitutionality of the general rule); Lalowski v. City of Des Plaines, 789

F.3d 784, 787-89 (7th Cir. 2015) (police officer’s claim that chief retaliated against him for

shouting insults and profanity at anti-abortion demonstrators); Connick v. Myers, 461 U.S. 138,

141 (1983) (prosecutor fired for circulating a questionnaire concerning internal office affairs).

These cases contrast sharply with this broad challenge to an ex ante rule that (as this Court has

already held) triggers NTEU’s stricter standard. See Guffey, 330 F. Supp. 3d at 71

(“The Pickering test developed in cases involving one-off disciplinary actions against individual

employees based on those employees’ speech. Courts since then have recognized that the test

requires closer scrutiny of the government’s interest in cases like this one, where—instead of

responding to disruptive speech through individualized ‘supervisory decision[s]’—it has enacted

a prospective rule with ‘widespread impact.’” (quoting Janus v. Am. Fed’n of State, Cty., & Mun.

Employees, 138 S. Ct. 2448, 2472 (2018), in turn quoting NTEU, 513 U.S. at 468)).




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       The government further suggests that the Plaintiffs must put forward additional evidence

(evidence of what, the government does not say) to survive summary judgment. Def.’s Opp. 2.

This is plainly wrong. The burden is on the government to justify its restrictions, NTEU, 513 U.S.

at 468, 475; Janus, 138 S. Ct. at 2472, not on Plaintiffs to prove them unjustified.

       The government’s burden, it bears repeating, is particularly high in light of the extreme

nature of the restrictions it is attempting to impose—restrictions that “strike at the core of” AO

employees’ “strong interest in freely participating in partisan politics” through “publicly

expressing opinions about parties and candidates, ... displaying political messages, ... contributing

to parties and candidates, and ... openly associating with political parties,” even “on their own time

and in their own communities.” Guffey, 330 F. Supp. 3d at 73-74. The government’s response to

this Court’s description of the restrictions at issue is merely to note that they apply to a smaller

group of employees than the ban at issue in NTEU. Def.’s Opp. 3 n.2. But stripping eleven hundred

people of core political speech rights cannot be justified on the grounds that the Director didn’t

sweep more employees into his ban.

       Regarding the evidentiary issue, the government’s attempt to salvage its declarants’

speculation under Rule 701 fails. In the portions of the declarations that Plaintiffs challenge, the

declarants are not testifying to anything like the value or profits of their businesses, see Def.’s

Opp. 10 n.8, but the hypothetical future reactions of other (in many cases hypothetical) people to

hypothetical future events. The Director cites no authority suggesting speculation of that sort is

admissible evidence. Nor can the government wave away Plaintiffs’ authorities on Rule 701, Pls.’

Br. 26-27, on the basis that one of them is a criminal case, Def.’s Opp. 11: the Federal Rules of

Evidence apply equally to criminal and civil cases. See United States v. Rembert, 863 F.2d 1023,

1028 (D.C. Cir. 1988); Fed. R. Evid. 1101. Additionally, the Federal Rule of Civil Procedure




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governing summary judgment echoes the evidentiary requirement that “[a]n affidavit or

declaration used to support or oppose a motion must be made on personal knowledge.” Fed. R.

Civ. P. 56(c)(4).

       The government’s suggestion that “exclusion” is not warranted, Def.’s Opp. 11,

contravenes black-letter law: a basic tenet of summary judgment practice is that declarations relied

on must “set out facts that would be admissible in evidence.” Fed. R. Civ. P. 56(c)(4); accord

Harris v. Gonzales, 488 F.3d 442, 446 (D.C. Cir. 2007) (“[A]ffidavits based upon belief are

inadequate to support a motion for summary judgment[.]”); Londrigan v. FBI, 670 F.2d 1164,

1174 (D.C. Cir. 1981) (“[Rule 56’s] requirement of personal knowledge by the affiant is

unequivocal, and cannot be circumvented.”). Plaintiffs do not dispute that, for the purpose of

evaluating the government’s interest, the government may rely on realistic hypotheticals in support

of its public-perception rationale. Guffey, 330 F. Supp. 3d at 76. But these hypotheticals must be

recognized for what they are: guesses, not facts that can be “found” and then partially shielded on

appeal by a “clear error” standard.

       The question on the merits, then, is whether these guesses carry the government’s burden

to justify the extreme restrictions on AO employees’ participation in some of the most basic

activities of democracy. The clear answer is that they do not.

II.    The Government Has Failed To Carry Its Burden Under NTEU.

       The government has failed to make anything close to a realistic showing of harm to justify

its restrictions, and in any event the Identified Restrictions sweep far too broadly.

       A. The AO’s Feared Harms Are Too Speculative To Support The Identified
          Restrictions.

       The government does not dispute that in eighty years of the agency’s existence, it has no

real-life examples of AO employees’ political activity causing any problem whatsoever, much less



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undermining the reputation of an entire branch of government. Likewise, the government has not

shown (and does not even argue) that AO employees’ partisan political activities during the past

thirteen months—during which time seven of the nine Identified Restrictions have been enjoined

by this Court—have damaged the judiciary’s reputation or harmed it in any way.

       The government’s own declarants attest to the AO’s excellent reputation for non-

partisanship prior to the implementation of the new Code. See Cooney Decl. ¶ 10 (“[T]he

perception was that the AO consistently and reliably presented views that were solely in the best

interest of the courts, without allowance for political considerations.”); Weich Decl. ¶ 12 (“In my

experience as a congressional staffer, the AO and its employees were uniformly perceived as non-

partisan actors advocating on behalf of the federal Judiciary.”). The government now seeks to

minimize this damaging evidence by pointing to the increasing influence of social media in the

years since its declarants worked with the AO. Def.’s Opp. 7. In the Director’s telling, social media

has changed everything. But a medium is only as powerful as the messages it conveys. And

whether information about AO employees’ off-duty political activities is shared on Instagram,

liked on Facebook, beamed by satellite, or carried by Pony Express, the government has provided

no good reason to think that the involvement of AO staffers in the ordinary, run-of-the-mill acts

of political and civic engagement would change the public perception of the judiciary in any way.

More harmless speech is still harmless. Adding all the zeros in the world will not total one.

       For the same reason, the Director’s reliance on articles about federal employees from

various widely-known agencies, Def.’s Opp. 17-18, is misplaced. In a country where only 26% of

respondents can identify the three branches of government, Def.’s Opp. 6 n.4, does the Director

seriously contend that the public is as familiar with the AO as with the United States Navy? See

Def.’s Opp. 17. Or that the political contributions of AO employees will provide the same excuse




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for unfounded partisan accusations as the headline-grabbing investigation of Special Counsel

Robert Mueller? See Def.’s Opp. 18. Likewise, the Director cannot rely on generalizations about

attacks on the judiciary generally or the use of FEC data generally, Def.’s Opp. at 19; he must

explain how there is a reasonable possibility that the speech of AO employees specifically will be

turned into effective political propaganda that undermines public confidence in the judiciary. That

scenario defies common sense to begin with, and the Director’s attempts to tie it to events with

any serious chance of occurring only underscore that point.

       Plaintiffs have identified a number of unlikely premises that the Director must assume in

order to conclude that the off-duty political activities of his employees will harm his agency’s

reputation. Pls.’ Br. 30-31. The Director responds first with the erroneous claim that Plaintiffs “do

not genuinely dispute the vast majority of” the government’s hypotheticals, Def.’s Opp. 13, contra

Pls.’ Br. 30 (pointing out that “all the government’s hypotheticals” rely on a lengthy chain of

speculation, with each link in the chain unlikely). The government then nitpicks Plaintiffs’ account

of the chain of speculation—arguing, for instance, that speculation about whether a member of a

public recognizes an AO staffer logically includes that the person has heard of the AO. Def.’s Opp.

15. But focusing on whether the chain of speculation is seven or eight steps long misses the forest

for the trees. The point remains that the government must make a great many assumptions—more

than the three steps that this Court found too tenuous at the preliminary-injunction stage, Guffey,

330 F. Supp. 3d at 79—in order to arrive at its prediction of harm. And as Plaintiffs have previously

noted, the government’s own assessment of the likelihood of its various contingencies is tellingly

tepid. See Pls.’ Br. 31-32.

       The Director’s attempt to discount the importance of a key link in his speculative chain—

the hypothesis that the public will mistakenly believe that AO employees participate in case




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adjudication—ignores the Supreme Court’s explanation of what the “public perception” interest

is all about: the need to “assure its people that judges will apply the law without fear or favor[.]”

Williams-Yulee v. Fla. Bar, 135 S. Ct. 1656, 1662 (2015) (emphasis added). Plaintiffs do not

disagree with the Director that amendments to the federal rules affect litigants, Def.’s Opp. 17, but

it is not the judiciary’s role in crafting amendments to the rules that drives the special interest in

judicial neutrality that the Supreme Court has found so important. The public must see the judiciary

as neutral arbiters of disputes, not as neutral recommenders of amendments to federal procedural

rules, which are more akin to rules issued by administrative agencies whose employees are subject

to much less restrictive rules under the Hatch Act. It is the judiciary’s special role as adjudicators,

which the Court traced all the way back to the Magna Carta, that justified the Supreme Court’s

decision in Williams-Yulee to recognize a “rare case[] in which a speech restriction withstands

strict scrutiny.” 135 S. Ct. at 1666. Accordingly, the allowance here for the government to rely on

hypotheticals in support of its public-perception-of-the-judiciary interest must be limited to the

function for which the public perception of integrity is a compelling interest: adjudicating cases.

       Further, in trying to minimize the extent of speculation that is required to carry its burden,

the government introduces yet more far-fetched speculation: that a member of the public “could

reasonably—even if not always accurately—believe that a single AO employee is in a position to

affect policy within the Judiciary,” or that an AO employee might “serve on” a presidential

campaign. Def.’s Opp. 15. The government offers no reason to think members of the public would

believe employees of an “Administrative Office” have the power to make policy decisions for the

judiciary. And the government’s claim that Plaintiffs themselves wish “to serve on a presidential

campaign in the 2020 election,” Def.’s Opp. 15, is a distortion; the government is exaggerating for




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rhetorical effect Plaintiffs’ statements that they have “volunteered” for campaigns in the past

and/or wish to do so in the future. See Guffey Decl. ¶ 14; Smith Decl. ¶¶ 6-10.

       In other instances, the Director doubles down on prior speculation, as in his dogged defense

of his parking-garage hypothetical. He insists that an observer of cars with partisan bumper stickers

in a parking garage shared by AO and congressional employees is “more likely” to make the

specific assumption that these are AO employees’ cars as opposed to congressional staffers’ cars.

Def.’s Opp. 19. That beggars belief, given the likelihood that congressional staffers will have

partisan bumper stickers on their cars. The parties can trade guesses back and forth, but there’s no

avoiding the point that a great deal of questionable speculation is required to imagine how AO

employees’ partisan activity will undermine the reputation of the judiciary. Core First Amendment

rights like expressing one’s views on a candidate or attending a candidate’s speech cannot be

gutted based on such a thin thread. Far-fetched contingencies fall far short of carrying the

government’s burden to assert “realistic hypotheticals of how partisan activity restricted under the

Code could lead the public to believe that the judiciary is not behaving impartially.” Guffey, 330

F. Supp. 3d at 76 (emphasis added); see also id. at 80 (requiring “a plausible showing that these

interests will actually be jeopardized” (emphasis added)).

       The government’s argument supporting the “public perception” interest is riddled with

additional errors. For instance, the government claims that the Plaintiffs’ argument is limited to

the likelihood that AO employees’ will perform their jobs in a partisan manner rather than

addressing the government’s concern that AO employees will be perceived by the public as

performing their jobs in a partisan manner. Def.’s Opp. 13, 15. In fact, however, Plaintiffs have

squarely focused on the government’s public-perception interest. See, e.g., Pls.’ Br. 27 (discussing

what will “be assumed” about AO employees); id. at 31 (connecting chain of speculation to the




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conclusion that “the federal judiciary is no longer perceived to be impartial”); id. at 34 (discussing

the absence of threats to “the public perception of the judiciary”). The government claims that the

public’s ability to discover online evidence of AO employees’ political activity from their pre-AO

days does not undermine its interest in throttling their off-duty political speech while employed by

the AO because employees “can nonetheless promote the Judiciary’s perception of independence

by a recognition that Judicial Branch employees must hold themselves to a different standard.”

Def.’s Opp. 15. But there is no reason to think the “higher standard” needed to reassure the public

is not already embodied within the AO’s pre-2018 Code, under which (the Director admits), AO

employees were already “required to ‘observe high standards of conduct so that the integrity and

independence of the judiciary are preserved.’” Def.’s MSJ 38 (quoting AO Code of Conduct §

220(b), ECF No. 2-5); see also Guffey, 330 F. Supp. 3d at 79 (citing AO Code’s Canon 2, which

prohibits employees from “engag[ing] in any activities that would put into question the propriety

of the employee’s conduct in carrying out the duties of the office”).

       The government’s other asserted interests in inter- and intra-branch relations fare no better

than the public-perception interest. The government defends its reliance on intra- and inter-branch

relations, first, on the basis that the perceptions of government actors do not “warrant different

consideration than the public as a whole,” Def.’s Opp. 8, and second, that AO employees are

“essential” to the functioning of the judicial branch, Def.’s Opp. 9. The first argument ignores what

this Court said in its prior opinion: the government has special leeway vis-à-vis its NTEU burden

to rely on speculation for the purposes of the “nebulous” interest in “the public’s perception of

judicial integrity.” Guffey, 330 F. Supp. 3d at 76 (emphasis added). There is no reason to extend

that dispensation to the much more concrete interests of inter- and intra-branch relations. As

Plaintiffs observed in their prior brief: if members of the “discrete and easily accessible groups of




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officials” the AO invokes “were distrustful of the AO because of its employees’ political activities,

it should not be hard for them to say so. They have not.” Pls.’ Br. 24. The Director has no answer

for this gap in his evidence. Moreover, even if the Director were permitted to speculate regarding

inter- or intra-branch harms, he would have to invoke much of the same far-fetched speculation as

for the public-perception interest, and add on the further speculation that sophisticated actors like

congressional staffers and judges won’t understand that AO staffers can separate out their personal

political activities views and activities from their jobs—as they have apparently done successfully

throughout the AO’s eighty-year history. Even the government itself does not argue that AO

staffers will actually behave in a biased way. The government offers no reason to believe that well-

informed government officials of the various branches would leap to this unwarranted conclusion.

       The government’s second inter/intra-branch argument is that AO employees are simply so

essential to the judiciary and the judiciary’s need for independence is so different from that of

other branches that judges cannot be tasked with the same responsibility all other federal

government officials bear: to supervise staff who might have partisan inclinations. This assumption

attributes to federal judges a surprising amount of naivete: in the Director’s telling, judges are both

easily susceptible to being duped by scheming AO employees with partisan agendas and also easily

reassured that AO employees could not possibly be up to any partisan scheming as long as they

don’t post partisan Facebook messages or contribute to their local House member’s campaign. The

Director cannot justify deep restrictions to his employees’ political activities based on such

unlikely assumptions—which, it bears repeating, are far removed from any harms consisting of

“real, not merely conjectural” “necessary impact on the actual operation of the Government” as

required under NTEU. 513 U.S. at 468, 475.




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       In a footnote, the government attempts to resurrect its “unity” interest that this Court has

rightly rejected already. Def.’s Opp. 8 n.7. The Court’s prior treatment is sufficient rebuttal:

       [A]chieving unity for its own sake cannot justify extending an existing speech
       restriction to a new group of employees whose job functions and workplace
       location distinguish them from those already covered. If uniformity were enough,
       the requirement that a restriction’s scope be reasonably tailored would be
       meaningless ... . [I]f the AO wishes to treat its employees like courthouse
       employees with regard to their partisan activity, it must provide some independent
       reason justifying that equal treatment—i.e., that the AO employees’ partisan
       activity would harm the government in some way and that the restrictions will
       mitigate that harm.

Guffey, 330 F. Supp. 3d at 74-75.

       Finally, the government offers no reason to continue to permit the Organizing and Driving

Restrictions to operate as distinct from the rest of its Code, beyond repeating the arguments that

Plaintiffs have previously rebutted.

       B. The Identified Restrictions Are Not At All Tailored To The Government’s
          Interest.

       On the issue of tailoring, the Director initially quarrels over the precise degree of tailoring

necessary, Def.’s Opp. 5, but ultimately concedes Plaintiffs’ point that some degree of “fit” is

required and that regulations must be “reasonably necessary” to protect the asserted interest. Def.’s

Opp. 21; accord Guffey, 330 F. Supp. 3d at 74 (recognizing “the requirement that a restriction’s

scope be reasonably tailored”); Pls.’ Br. 34-35 (citing Supreme Court and D.C. Circuit precedent).

       Under any standard, the Identified Restrictions are not “fit[ted]” or “tailored” to the

government’s interests. Most fundamentally, the Director never refutes Plaintiffs’ basic point—

and this Court’s conclusion—that the pre-2018 version of the Code was sufficient to prevent harms

to the judiciary’s reputation. See Pls.’ Br. 36; Guffey, 330 F. Supp. 3d at 79 (explaining that any

problematic outliers could be addressed through “after-the-fact, isolated disciplinary actions”). All

the Director offers on this score is that the suggestion that individualized, post hoc enforcement of



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pre-2018 Code provisions are less preferable to a blanket ban on large swaths of political activity.

Def.’s Opp. 25. But NTEU teaches precisely the opposite: with regard to a ban with “widespread

impact ... the Government’s burden is greater ... than with respect to an isolated disciplinary

action.” 513 U.S. at 468. Although “[p]recision of regulation must be the touchstone” in the First

Amendment area, NAACP v. Button, 371 U.S. 415, 438 (1963), sweeping ex ante speech

restrictions do something far worse than punish a single employee under a clear but general

prohibition: they are a “wholesale deterrent to a broad category of expression by a massive number

of potential speakers,” 513 U.S. at 467, and “chill[] speech before it happens,” id. at 468. Thus,

under NTEU, the Director’s broad-brush approach is far more problematic than a more tailored

regime of individually focused, post hoc discipline.

       The Director also argues that, as in Wagner v. FEC, 793 F.3d 1 (D.C. Cir. 2015), where an

important factor in the D.C. Circuit’s decision to uphold a contribution restriction was the

existence of a demonstrated problem of pay-to-play among the group subject to the challenged

law, the AO has a “demonstrated problem” in the form of “the recent increase in partisan

polarization generally, and toward the Judiciary specifically ... coupled with increased visibility

and salience of federal employees’ political activities.” Def.’s Opp. 25. But defining a “problem”

at that high a level of generality to justify a draconian speech restriction stretches NTEU’s speech-

protective standard—requiring a showing of “real, not merely conjectural,” “necessary impact on

the actual operation of the Government,” 513 U.S. at 468, 475—beyond recognition. Heightened

partisanship plus the inevitable progress of communications technology does not equal carte

blanche for the government to restrict its employees’ speech.

       In sum, the AO has imposed a maximally strict speech Code to protect against minimally

likely harms. The Code fails First Amendment scrutiny by a wide margin.




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III.   The Government’s Argument About The Scope Of The Injunction Conflicts With
       D.C. Circuit Precedent.

       For the first time in this litigation, the government argues that relief should be limited to

the two Plaintiffs. In support of this argument, the government invokes various principles

regarding the role of the courts generally. See Def.’s Opp. 28-30. But as Plaintiffs have shown,

precedent specific to this precise context permits agency-wide relief: Plaintiffs follow D.C. Circuit

precedent in pursuing an “as applied challenge to a broad category of non-official employee

speech.” Sanjour, 56 F.3d at 93 (source’s alternation marks omitted). In Sanjour, the court struck

down regulations barring EPA employees from receiving travel expense reimbursement from

private sources for certain unofficial speaking or writing engagements. Id. at 87-88. The court

carefully considered the scope of the case and held that the nature of the challenge “requires that

we look beyond the particular facts of the appellants’ case”; it thus excluded only “senior executive

employees” (analogous to the six “designated” AO employees here) from its holding. Id. at 93.

This Court has already recognized that this approach is the correct one: Because the Director

“offered no basis on which to distinguish the two plaintiffs here from other AO employees to

whom the challenged provisions also apply,” the Court in its preliminary injunction opinion

followed the path laid out by the D.C. Circuit in Sanjour and enjoined the Director from enforcing,

against “any AO employees except for the six high-level employees not at issue in this case,” the

provisions the Court found constitutionally problematic. Guffey, 330 F. Supp. 3d at 73, 81.

       The Director’s response—that “Plaintiffs have not shown that the Restrictions are invalid

when applied to other AO employees,” Def.’s Opp. at 30—rests on the erroneous premise that it

is Plaintiffs’ burden to show the Code’s invalidity as to all of their colleagues. Again, the Director

runs into contrary instruction from NTEU, which places the burden squarely on the government to

justify its restriction. NTEU, 513 U.S. at 468, 475; accord Janus, 138 S. Ct. at 2472. Despite the



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Director’s attempt to co-opt NTEU to support his argument about the scope of relief, see Def.’s

Opp. at 29, the decision in that case applied to “all Executive Branch employees below grade GS-

16.” 513 U.S. at 478. Because that case was a class action, the Court had no occasion there to

consider whether it should restrict injunctive relief from an unconstitutional speech restriction to

just a handful of employees. Accordingly, the binding, on-point authority here is Sanjour.

       This Court properly issued its preliminary injunction agency-wide, based on the Director’s

failure to explain why his restriction was more appropriate as to any subset of his employees.

Because he adheres to that position now, see Def.’s Opp. 22-24 (arguing that AO employees should

be treated together, not broken up by division or job description), an agency-wide injunction (again

excepting the same six “designated” AO executives excluded from the scope of the preliminary

injunction) remains appropriate. A broad injunction is particularly warranted in light of the serious

affront to the First Amendment that the Identified Restrictions represent. The other thousand-plus

AO employees should not be required to come to court individually and begin the litigation process

anew to seek relief from the onerous restrictions at issue.

                                         CONCLUSION

       The Court should grant summary judgment to Plaintiffs and deny it to Defendant.

October 3, 2019                               Respectfully submitted,

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